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                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS


In re:                                           §
Free Speech Systems, LLC                         §           Civil Action No. 4:23‐cv‐00463
         Debtor                                  §
                                                 §        Bankruptcy Case No. 4:22‐bk‐60043
W. Marc Schwartz and Schwartz Associates,
                                                 §
LLC
         Appellant                               §


                                     Record Transmitted
        The bankruptcy clerk has transmitted the record for this appeal to the district court. See
Fed. R. Bankr. P. 8010 (b). Unless the district court orders otherwise, the following deadlines
apply. See Fed. R. Bankr. P. 8018.
1. The appellant’s brief must be filed within 30 days after entry of this notice.
2. The appellee’s brief must be filed within 30 days after service of the appellant’s brief.
3. The appellant may file a reply brief within 14 days after service of the appellee’s brief, but a
   reply brief must be filed at least 7 days before scheduled argument.
Date: March 23, 2023
                                                      Nathan Ochsner, Clerk of Court
                                                      B W Lacy
                                                      Deputy Clerk
